     Case 2:22-cv-03754-FLA-AFM Document 20 Filed 09/23/22 Page 1 of 2 Page ID #:124




 1    SO. CAL. EQUAL ACCESS GROUP
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      KORTTNEY ELLIOTT
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      KORTTNEY ELLIOTT,                                 Case No.: 2:22-cv-03754 FLA (AFMx)
11
12                 Plaintiff,
                                                        NOTICE OF VOLUNTARY
13          vs.                                         DISMISSAL OF ENTIRE ACTION
                                                        WITHOUT PREJUDICE
14
      GOOD LIFE ENTERPRISES, L.L.C.; and
15    DOES 1 through 10,
16                 Defendants.
17
18
            PLEASE TAKE NOTICE that KORTTNEY ELLIOTT
19
       (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
20
      voluntarily dismisses the entire action without prejudice pursuant to Federal Rule of Civil
21
      Procedure Rule 41(a)(1) which provides in relevant part:
22
            (a) Voluntary Dismissal.
23
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24
                          and any applicable federal statute, the plaintiff may dismiss an action
25
                          without a court order by filing:
26
                          (i)     A notice of dismissal before the opposing party serves either an
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28
                                  answer or a motion for summary judgment.


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         NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
     Case 2:22-cv-03754-FLA-AFM Document 20 Filed 09/23/22 Page 2 of 2 Page ID #:125




 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: September 23, 2022             SO. CAL. EQUAL ACCESS GROUP
 6
 7                                          By:     /s/ Jason J. Kim
 8                                                Jason J. Kim, Esq.
                                                  Attorneys for Plaintiff
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         NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
